Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 1 of 22 PageID #: 4733
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 2 of 22 PageID #: 4734
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 3 of 22 PageID #: 4735
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 4 of 22 PageID #: 4736
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 5 of 22 PageID #: 4737
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 6 of 22 PageID #: 4738
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 7 of 22 PageID #: 4739
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 8 of 22 PageID #: 4740
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 9 of 22 PageID #: 4741
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 10 of 22 PageID #: 4742
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 11 of 22 PageID #: 4743
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 12 of 22 PageID #: 4744
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 13 of 22 PageID #: 4745
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 14 of 22 PageID #: 4746
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 15 of 22 PageID #: 4747
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 16 of 22 PageID #: 4748
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 17 of 22 PageID #: 4749
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 18 of 22 PageID #: 4750
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 19 of 22 PageID #: 4751
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 20 of 22 PageID #: 4752
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 21 of 22 PageID #: 4753
Case 4:07-cv-04172-KES Document 243 Filed 09/03/10 Page 22 of 22 PageID #: 4754
